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MISSISSIPPI LEGISLATURE                              REGULAR SESSION 2016

By: Representatives Frierson, Mims, Arnold,          To:   Appropriations
Barker, Bennett, Bounds, Brown, Currie,
Gipson, Holland, Mettetal, Myers, Read,
Shows, Turner, Watson, Sykes, Dixon




                              HOUSE BILL NO. 1652
                             (As Sent to Governor)


 1        AN ACT MAKING AN APPROPRIATION TO THE DEPARTMENT OF HUMAN
 2   SERVICES; AND FOR RELATED PURPOSES, FOR THE FISCAL YEAR 2017.

 3        BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF MISSISSIPPI:

 4        SECTION 1.   The following sum, or so much thereof as may be

 5   necessary, is appropriated out of any money in the State General

 6   Fund not otherwise appropriated, to the Department of Human

 7   Services for the fiscal year beginning July 1, 2016, and ending

 8   June 30, 2017                                         $     159,130,366.00.

 9        SECTION 2.   The following sum, or so much thereof as may be

10   necessary, is appropriated out of any money in any special fund in

11   the State Treasury to the credit of the Department of Human

12   Services which is comprised of special source funds collected by

13   or otherwise available to the department for the support of the

14   various divisions of the department, for the purpose of defraying

15   the expenses of the department for the fiscal year beginning

16   July 1, 2016, and ending June 30, 2017

17                                                         $ 1,446,285,044.00.


                                                                              EXHIBIT
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18        SECTION 3.    None of the funds appropriated by this act shall

19   be expended for any purpose that is not actually required or

20   necessary for performing any of the powers or duties of the

21   Department of Human Services that are authorized by the

22   Mississippi Constitution of 1890, state or federal law, or rules

23   or regulations that implement state or federal law.

24        SECTION 4.    Of the funds appropriated under the provisions of

25   Section 1 of this act and authorized for expenditure under the

26   provisions of Section 2 of this act, not more than the amounts set

27   forth below shall be expended; however, notwithstanding any other

28   provision in this act, it is the intent of the Legislature that

29   any amount funds and positions may be transferred between the

30   Consolidated Department of Human Services and the Division of

31   Child Protection Services in order to comply with agreements made

32   by the State of Mississippi with the United States District Court

33   in reference to the Olivia Y., et al. lawsuit

34                DEPARTMENT OF HUMAN SERVICES CONSOLIDATED

35   FUNDING:

36        General Funds                                              60,270,966.00

37        Special Funds                                          1,244,634,946.00

38              Total                                     $      1,304,905,912.00

39        With the funds appropriated for this budget, the following

40   positions are authorized:

41     AUTHORIZED POSITIONS:

42        Permanent:       Full Time                     1,781


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43                             Part Time                           1

44        Time-Limited:        Full Time                        501

45                             Part Time                           0

46                      DIVISION OF CHILD PROTECTION SERVICES

47           FUNDING:

48           General Funds                                                 98,859,400.00

49        Special Funds                                                   201,650,098.00

50                        Total                                           300,509,498.00

51           With the funds appropriated for this budget, the following

52   positions are authorized:

53     AUTHORIZED POSITIONS:

54           Permanent:           Full Time                  1,536

55                             Part Time                           0

56           Time-Limited:        Full Time                     417

57                                Part Time                        0

58           None of the funds herein appropriated shall be used in

59   violation of Internal Revenue Service's Publication 15-A relating

60   to the reporting of income paid to contract employees, as

61   interpreted by the Office of the State Auditor.

62           SECTION 5.    It is the intention of the Legislature that the

63   Department of Human Services shall maintain complete accounting

64   and personnel records related to the expenditure of all funds

65   appropriated under this act and that such records shall be in the

66   same format and level of detail as maintained for Fiscal Year

67   2016.     It is further the intention of the Legislature that the


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68   agency's budget request for Fiscal Year 2018 shall be submitted to

69   the Joint Legislative Budget Committee in a format and level of

70   detail comparable to the format and level of detail provided

71   during the Fiscal Year 2017 budget request process.

72        SECTION 6.   Of the funds appropriated in Section 2, One

73   Million Dollars ($1,000,000.00) shall be transferred to the

74   Department of Health, Child Care Licensure Program from the Child

75   Care Development Fund or other appropriate special fund.            These

76   funds are to be transferred to the Board of Health no later than

77   July 31, 2016.    The Department of Health shall make a complete

78   accounting to the Department of Human Services detailing the uses

79   of these funds in accordance with federal and state regulations.

80        SECTION 7.   It is the intention of the Legislature that

81   whenever two (2) or more bids are received by this agency for the

82   purchase of commodities or equipment, and whenever all things

83   stated in such received bids are equal with respect to price,

84   quality and service, the Mississippi Industries for the Blind

85   shall be given preference.     A similar preference shall be given to

86   the Mississippi Industries for the Blind whenever purchases are

87   made without competitive bids.

88        SECTION 8.    The Department of Human Services is authorized to

89   expend available funds on technology or equipment upgrades or

90   replacements when it will generate savings through efficiency or

91   when the savings generated from such upgrades or replacements

92   exceed expenditures thereof.


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93         SECTION 9.    It is the intention of the Legislature that none

94    of the funds provided herein shall be used to pay certain

 95   utilities for state furnished housing for any employees.            Such

 96   utilities shall include electricity, natural gas, butane, propane,

 97   cable and phone services.     Where actual cost cannot be determined,

 98   the agency shall be required to provide meters to be in compliance

 99   with legislative intent.      Such state furnished housing shall

100   include single-family and multi-family residences but shall not

101   include any dormitory residences.      Allowances for such utilities

102   shall be prohibited.

103        SECTION 10.    In compliance with the "Mississippi Performance

104   Budget and Strategic Planning Act of 1994," it is the intent of

105   the Legislature that the funds provided herein shall be utilized

106   in the most efficient and effective manner possible to achieve the

107   intended mission of this agency.      Based on the funding authorized,

108   this agency shall make every effort to attain the targeted

109   performance measures provided below:

110                                                                          FY2017

111   Performance Measures                                                   Target

112   Support Services

113        Percentage of Referred/Directed

114              Investigative Audits Conducted (%)                                  98

115        Percentage of Special Investigations

116              Conducted (%)                                                       98

117        Percentage of Referred/Obtained Fraud


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118               Investigations Conducted Timely (%)                                     90

119         Percentage of Referred Administrative

120               Disqualification Hearings and Fair Hearings

121               Conducted Timely (%)                                                    95

122         Percentage of Monitoring Reviews Conducted

123               within Acceptable Timeframes

124         Total Amount of Funds Recovered ($)                               2,851,330

125   Aging & Adult Services

126         In-home Services (Persons)                                            17,391

127         Community Based Services (Persons)                                    15,118

128         Congregate Meals (Number of Meals)                                   460,948

129         Home-delivered Meals (Meals Delivered)                            2,238,296

130         Substantiated Incidences of Abuse of

131               Vulnerable Adults per 1,000 Population                                  0

132         Home Delivered Meals, Percent Reduction

133               of Persons on Waiting List (%)                                          0

134   Child Support Enforcement

135         Number of Paternities Established                                     45,938

136         Percent Change - Paternities Established (%)                            4.55

137         Number of Obligations Established                                     42,000

138         Percent Change - Obligations Established           (%)                 16.00

139         Total Collections ($)                                        390,000,000.00

140         Percentage Change in Total Collections (%)                              5.00

141         Absent Parents Located (Individuals)                                  60,000

142         Percentage of Child Support Cases Current


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143              on Payments (%)                                                  35.00

144   Community Services

145        Number of Elderly Served by CSBG & LIHEAP                             19,579

146        Number of Handicapped Served                                          18,400

147        Number of Households Achieving

148              Self-Sufficiency                                                    882

149        Increase in Rate of Household

150              Attaining Self Sufficiency      (%)                                2.00

151        Number of Households Stabilized                                       17,712

152        Percent Increase in the Number of

153              Households Stabilized (%)                                          2.00

154        Number of Households Weatherized                                          516

155   Early Childhood Care & Dev

156        Number of Children Served                                             28,000

157   Assistance Payments

158        Dollar Amount of Assistance ($)                                  800,000.00

159   Food Assistance

160        Average Monthly Households                                           295,000

161        Supplemental Nutrition Assistance

162              Program - SNAP ($)                                     950,000,000.00

163        Percentage of Mississippi Households

164              Receiving SNAP Benefits (%)                                      21.90

165   Tanf Work Program

166        TANF/Medicaid Households per Month                                     6,000

167        Work Program (Persons Served)                                      2,200.00


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168         TANF Work Program Participation Rate (%)                           50.00

169         Persons Employed                                                      620

170         Number of Households Receiving TANF

171              Benefits During the Year                                      6,800

172         Percentage of Households Receiving TANF

173              During the Year (%)                                            0.45

174         Percentage of TANF Participants in

175              Job Training Who Enter Employment (%)                         30.00

176         Percentage of TANF Participants in Job

177              Training Who Enter Employment at a Salary

178              Sufficient to be Ineligible for TANF (%)                      19.00

179         Percentage of TANF      Participants in Job

180              Training Who Remain Employed for:

181              One Year After Leaving the Program (%)                        75.00

182              Five Years After Leaving the Program (%)                      65.00

183   Social Services Block Grant

184        Clients Served, Family & Child Services                            75,611

185        Clients Served, Aging & Adult Services                             21,178

186        Clients Served, Youth Services                                         900

187   Youth Services

188        Community Services (Children Served)                               12,500

189        Institutional Component (Children Served)                              350

190        Number of Volunteers - Community Services                              125

191        Children Placed in Alternative Placement                               250

192        Children Diverted from Institutional (%)                            75.00


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 193         Recidivism Rate                                                    22.00

 194         A reporting of the degree to which the performance targets

 195    set above have been or are being achieved shall be provided in the

 196    agency's budget request submitted to the Joint Legislative Budget

 197    Committee for Fiscal Year 2018.

198          SECTION 11.   It is the intent of the Legislature that the

199     Department of Human Services, Division of Child Support

' 200   Enforcement, make a concentrated effort to increase collections of

201     past due child support payments.       On or before January 1, 2017,

202     the Executive Director of the Department of Human Services shall

203     submit a report to the Legislative Budget Office detailing

204     year-to-date performance measures in the Child Support Enforcement

205     Program compared with the prior year.

206          SECTION 12.   It is the intention of the Legislature that the

207     Department of Human Services shall have the authority to spend

208     such additional funds as it shall receive from the federal

209     government in incentives or the federal match on those incentives

210     for the purpose of child support enforcement.

211          SECTION 13.   Of the funds appropriated in Section 1, Two

212     Hundred Fifty Thousand Dollars ($250,000.00) shall be transferred

213     to the Juvenile Facility Monitoring Unit at the Department of

214     Public Safety no later than July 31, 2016.

215          SECTION 14.   Of the funds appropriated herein, an additional

216     One Million Dollars ($1,000,000.00) of Special Funds to be

217     transferred from the Division of Medicaid, are provided to fund


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218   the Home Delivered Meals Program in the Aging and Adult Services

219   Division.

220        SECTION 15.   The following sum, or so much thereof as may be

221   necessary, is appropriated out of any         money in the State Treasury

222   to the credit of the Capital Expense Fund, as created in Section

223   27-103-303, Mississippi Code of 1972, and allocated in a manner as

224   determined by the Treasurer's Office for the purpose of defraying

225   the expenses of the Division of Child Protection Services for the

226   fiscal year beginning July 1, 2016, and ending June 30, 2017

227                                                               $13,436,099.00.

228        SECTION 16.   Of the funds provided in Section 1, an amount

229   not to exceed One Hundred Thousand Dollars ($100,000.00) is

230   provided to fund the Senior Olympics Program.

231        SECTION 17.   Of the funds appropriated in Section 1, it is

232   the intention of the Legislature that an amount equal to the funds

233   provided from court assessments and allocated to the agency during

234   fiscal year 2015 be allocated for the same purpose for the fiscal

235   year beginning July 1, 2016, and ending June 30, 2017.

236        SECTION 18.   The money herein appropriated shall be paid by

237   the State Treasurer out of any money in the State Treasury to the

238   credit of the proper fund or funds as set forth in this act, upon

239   warrants issued by the State Fiscal Officer; and the State Fiscal

240   Officer shall issue his warrants upon requisitions signed by the

241   proper person, officer or officers, in the manner provided by law.




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242         SECTION 19.   This act shall take effect and be in force from

243   and after July 1, 2016.




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